        Case 4:21-cv-00039-WMR Document 1 Filed 02/19/21 Page 1 of 9




                    IN UNITED STATES DISTRICT COURT
                   FOR NORTHERN DISTRICT OF GEORGIA
                             ROME DIVISION



DIEDRE FRAZIER

      Plaintiff,                             Civil Action No.: 4:21-cv-39-WMR

v.                                            ​Jury Trial Demanded

D & S COMMERCIAL PAINT,
LLC and SENECA DAVIS

       Defendants.




                                COMPLAINT

      COMES NOW Plaintiff, ​Diedre Frazier by and through his undersigned

counsel, files this lawsuit against Defendants D & S Commercial Paint, LLC and

Seneca Davis. on behalf of himself and similarly situated employees, pursuant to

the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq., as amended, for overtime

violations.



                       I. JURISDICTION AND VENUE


                                        1
     Case 4:21-cv-00039-WMR Document 1 Filed 02/19/21 Page 2 of 9




1. This Court has subject matter jurisdiction over the federal claims asserted in

   this action under 28 U.S.C. §§1331, 1332, 1337, 1338, 1343(a) (4) 1367.

2. Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), as both

   Defendants are foreign corporations who conduct business in this District

   and as a substantial part of the events or omissions giving rise to the claims

   that occurred in this District.

3. Plaintiff asserts state based claims under the supplemental jurisdiction of this

   court, pursuant to 28 U.S.C. §1367, to hear and decide claims arising under

   the laws of the State of Georgia. Jurisdiction is specifically conferred on the

   Court by 42 U.S.C. §2003-5(g).

                      II. STATEMENT OF CLAIMS

4. The instant lawsuit is for relief for Defendants’ violations of the Fair Labor

   Standards Act, 29 U.S.C. §§ 201, et seq., as amended.

                        III. PARTIES

5. Plaintiff Diedre Frazier (hereinafter “Plaintiff” or “Ms. Frazier”) is a resident

   of Walton County, Georgia.

6. Ms. Frazier was jointly employed by Defendants, D & S Commercial Paint,

   LLC and Seneca Davis. (hereinafter “Defendants”).




                                       2
     Case 4:21-cv-00039-WMR Document 1 Filed 02/19/21 Page 3 of 9




7. Plaintiff is covered by §§ 203, and 207 of the FLSA for the period in which

   they were employed by Defendants.

8. Defendant D & S Commercial Paint, LLC is a domestic corporation with its

   principal place of business in 300 Arbor Creek Drive Dallas, GA 30157,

   Paulding County, (within this District).

9. Defendant Seneca Davis. is the Owner of D & S Commercial Paint, LLC

   and his principal place of business is 300 Arbor Creek Drive Dallas, GA

   30157.

10.Defendants conduct business within this State and District, and at all times

   relevant to this lawsuit are private business entities that manage employees,

   such as Plaintiffs. As such, Defendants are to subject the jurisdiction of this

   Court. Both Defendants may be served process to their registered agent,

   Corie Philpott- Davis., 300 Arbor Creek Drive Dallas, GA 30157.

11.Defendants are employers as defined by § 203(d) of the FLSA. Defendants

   are subject to the provisions of the Fair Labor Standards Act of 1938, as

   amended, and the laws of the state of Georgia.

12.Ms. Frazier was, at all times relevant to this action, an “employee” of the

   Defendants as defined at § 203(e)(1) of the FLSA, and is entitled to the

   protections provided thereunder.

                                      3
     Case 4:21-cv-00039-WMR Document 1 Filed 02/19/21 Page 4 of 9




13.Defendants were provided an opportunity to resolve the concerns described

   herein prior to the filing of this lawsuit.

                     IV. GENERAL ALLEGATIONS

14.Ms. Frazier has been employed by Defendants’ as a Painter at their business

   in Dallas, Georgia.

15.Ms. Frazier was paid an hourly rate of $17.00 on a weekly pay schedule.

16.During Ms. Frazier’s first week of employment with Defendants’ company,

   she worked 26 hours but was only paid for 25 hours.

17.During her second week, she worked 39 hours but was only paid for 15

   hours.

18.During her final week, she worked 2 hours, but was not paid anything.

19.Ms. Frazier’s final check should have been for $680 or 41 hours to

   compensate her for 41 hours of unpaid wages, however Defendants only

   paid her for $255.00, which merely accounted for 15 of the hours.

20.Defendants still owe Ms. Frazier for approximately 26 hours worked.

21.Defendants failure to pay Ms. Frazier for the full amount of the hours she

   worked and minimum wages for the weeks she was not paid violates the Fair

   Labor Standards Act.




                                        4
     Case 4:21-cv-00039-WMR Document 1 Filed 02/19/21 Page 5 of 9




22.Defendants do not have a time tracking system in place to accurately record

   their employees' hours.

23.Defendants’ failure to pay Ms Frazier the appropriate amounts on her

   regularly scheduled paydays violates the Fair Labor Standards Act.

24.FLSA requires employers to pay hourly employees a minimum wage $7.25

   per hour. Defendant’s failure to pay Ms. Frazier the full amount of her hours

   during the aforementioned work week, resulted in her being paid less than

   federally mandated minimum wage. Accordingly, Ms. Frazier is

   unequivocally entitled to full payment for the hours worked, and she does

   not qualify for any of the recognized exemptions from the protections of

   FLSA.

25.In total, Ms. Frazier is owed $425.00 in unpaid wages, plus liquidated

   damages of $425.00.

26.Ms. Frazier did not supervise any employees and had no authority to hire,

   fire, promote or discipline employees.

27.Ms. Frazier’s work did not involve the performance of duties directly related

   to management or general business operations. To the extent that his work

   required any judgment at all, his judgment was limited to choices within set

   policies or guidelines.

                                     5
     Case 4:21-cv-00039-WMR Document 1 Filed 02/19/21 Page 6 of 9




28.Ms. Frazier was paid an hourly non-exempt rate during the entire course of

   her employment.

29.Prior to the filing of this lawsuit, Defendants were made aware deliberately

   avoided paying Ms. Frazier her full compensation earned in a timely

   manner. This practice is illegal under the Fair Labor Standards Act.

                         V. CAUSES OF ACTION

                               COUNT ONE
                              UNPAID WAGES

30.Plaintiff repeats, re-alleges and reiterates the foregoing allegations set forth

   in paragraphs 1-29, as set forth herein and states:

31.By its actions alleged herein, Defendants willfully, knowingly and/or

   recklessly violated the FLSA provisions and corresponding federal

   regulations as detailed herein, by failing to properly pay wage compensation

   to Plaintiff in accordance with §§ 203, 206 and 207 of the FLSA.

32.Plaintiff was not an exempt employee under FLSA.

33.Defendants deliberately avoided paying Ms. Frazier her full compensation

   earned.

34.Defendants was aware that it could not lawfully deny Plaintiff his

   appropriately calculated overtime wages



                                        6
     Case 4:21-cv-00039-WMR Document 1 Filed 02/19/21 Page 7 of 9




35.Defendants have not made a good faith effort to comply with the FLSA with

   respect to Plaintiff’s overtime compensation.

36.As a result of Defendants’ violations of the FLSA, Plaintiff suffered

   damages by failing to receive a minimum wage in accordance with §§ 203,

   and 206 of the FLSA.

37.As a result of the unlawful acts of Defendants, Ms. Frazier was deprived of

   compensation in an amount to be determined at trial, and is entitled to

   recovery of such amounts, liquidated damages, pre- and post-judgment

   interest, costs, attorneys’ fees, and other relief.


                             COUNT TWO
                         BREACH OF CONTRACT

38.Plaintiff repeats, re-alleges and reiterates the foregoing allegations set forth

   in paragraphs 1-37, as set forth herein and states:

39.Defendants breached its employment contract with Plaintiff when it agreed

   to pay her an hourly rate of $17.00 on a weekly pay schedule and failed to

   do so.


                               COUNT THREE
                              ATTORNEY FEES




                                         7
     Case 4:21-cv-00039-WMR Document 1 Filed 02/19/21 Page 8 of 9




40.Plaintiff repeats, re-alleges and reiterates the foregoing allegations set forth

   in paragraphs 1- 39, as set forth herein and states:

41.Plaintiff seeks an award of attorney’s fees in this action.

42.Plaintiff also seeks to recover from Defendants the expenses of this

   litigation, including but not limited to reasonable attorney’s fees and costs

   pursuant to 42 U.S.C §1988(b).



                          PRAYER FOR RELIEF

43.Wherefore, Plaintiff prays that process is issued according to law and

   demands judgment against Defendants as follows:

      a. All damages that may be awarded under FLSA, and Georgia law;

          general compensatory damages including but not limited to damages

          for mental and emotional distress plus interest;

      b. Special damages;

      c. Injunctive relief preventing and prohibiting Defendants from engaging

          in its present practices in violation of the laws cited herein;

      d. Reasonable attorney’s fees and expenses and costs pursuant to 42

          U.S.C. §1988;




                                        8
        Case 4:21-cv-00039-WMR Document 1 Filed 02/19/21 Page 9 of 9




         e. Unpaid wages for work performed, an equal amount of liquidated

            damages including, reasonable attorneys’ fees, litigation costs, and

            other appropriate relief pursuant to 29 U.S.C. § 216(b).

         f. Such other and further and different relief as this court deems just and

            appropriate.

Respectfully submitted this 19th day of February 2021.

                                             /S/ Arnold J. Lizana
                                             Law Offices of Arnold J. Lizana III
                                             GA Bar No.: 698758
                                             1175 Peachtree Street NE, 10th Floor
                                             Atlanta, GA 30361
                                             Tel./Fax 877-443-0999
                                             alizana@attorneylizana.com

                                             ATTORNEY FOR PLAINTIFF




                                         9
